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29, 2011.








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In The

Court of Appeals

For The

First District of Texas

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NO. 01-10-00774-CV

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Jesse valeriano,
Appellant

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V.

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frontier fractanks, llc,
Appellee

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On Appeal from the 152nd District Court 

Harris County, Texas

Trial Court Cause No. 2009–50161

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MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an
appeal from a judgment signed August 25, 2010. &nbsp;On January 13, 2011, the parties filed a joint
motion to dismiss the appeal in accordance with an agreement signed by the
parties. &nbsp;See Tex. R. App. P.
42.1. 

The motion is granted, and the appeal
is dismissed.&nbsp; See Tex. R. App. P. 42.1(a)(2), 43.2(e).&nbsp; We dismiss any other pending motions as moot.
&nbsp;The Clerk is directed to issue mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P.
18.1.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER CURIAM

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Panel consists of
Justices Jennings, Sharp, and Brown.

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